
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Fernando Miranda Pena, Defendant-Appellant. No. 19CA0143Court of Appeals of Colorado, Third DivisionDecember 9, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Larimer County District Court No. 13CR1782 Honorable Gregory
      M. Lammons, Judge
    
    
               
      OPINION
    
    
               
      LIPINSKY JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Furman
      and Brown, JJ., concur
    
    